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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS




 CHARLENE ASHLEY,                    §
                                     §
              Plaintiff,             §
                                     §
v.                                   §                       Civil Action: 3:24-cv-1143
                                     §
                                     §                       With Jury Demand Endorsed
EQUIFAX INFORMATION SERVICES LLC, §
EXPERIAN INFORMATION SOLUTIONS,      §
Inc., TRANS UNION LLC, and           §
NATIONSTAR MORTGAGE LLC,             §
, an
successor by merger to RUSHMORE LOAN §
MANAGEMENT SERVICES, LLC,            §
                                     §
TRANS UNIONDefendants.
                LLC, and             §
                                     §




                                         COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       Plaintiff, Charlene Ashley (“Plaintiff”), by and through counsel, for her Complaint against

Defendants, Equifax Information Services LLC, Experian Information Solutions, Inc., Trans Union

LLC, and Nationstar Mortgage LLC, successor by merger to Rushmore Loan Management Services

LLC, jointly, severally, and in solido, states as follows:

                                     I. INTRODUCTION

       1.      Three of the Defendants are consumer reporting agencies (“CRAs”) as defined by 15

U.S.C. § 1681a(f), and Defendant, Nationstar Mortgage LLC, successor by merger to Rushmore

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Loan Management Services LLC is a furnisher of consumer information. All Defendants have

violated 15 U.S.C. § 1681 et seq., known as the Fair Credit Reporting Act (the “FCRA”). Plaintiff

seeks to recover from Defendants actual, statutory, and punitive damages, injunctive relief, legal

fees, and expenses.


                                         II. PARTIES

       2.      Plaintiff, Charlene Ashley, is a natural person residing in Nashville, Tennessee, and

is a “consumer,” as defined by the FCRA, 15 U.S.C. § 1681a(c), and is a victim of repeated false

credit reporting.

       Made Defendants herein are:

       3.      Upon information and belief, Defendant Equifax Information Services LLC, which

may also hereinafter be referred to as “Equifax,” “Defendant,” “Defendants,” “CRA,” “CRA

Defendant,” or “CRA Defendants” is a Georgia limited liability company that does substantial

business in this judicial district and may be served by delivering a summons to its headquarters,

1550 Peachtree Street, Northwest, Atlanta, Georgia 30309. Equifax is a nationwide consumer

reporting agency (“CRA”) as defined by 15 U.S.C. § 1681a(f). Equifax regularly engages in the

business of assembling, evaluating, and disbursing information concerning consumers for the

purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to third parties.

Equifax disburses such consumer reports to third parties of contract for monetary compensation.

       4.      Upon information and belief, Defendant Experian Information Solutions, Inc., which

may also hereinafter be referred to as “Experian”, “Defendant,” “Defendants,” “CRA,” or “CRA

Defendant,” or “CRA Defendants,” is an Ohio corporation that does business in this judicial district

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and may be served by delivering a summons to its headquarters, 475 Anton Blvd., Costa Mesa,

California 92626. Experian is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Experian

regularly engages in the business of assembling, evaluating, and disbursing information concerning

consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. § 1681a(f) to

third parties. Experian disburses such consumer reports to third parties of contract for monetary

compensation.

       5.       Upon information and belief, Defendant Trans Union LLC, which may also

hereinafter be referred to as “Trans Union”, “Defendant,” “Defendants,” “CRA,” “CRA Defendant,”

or “CRA Defendants” is an Illinois limited liability company that does business in this judicial

district and may be served by delivering a summons to its headquarters, 555 West Adams Street,

Chicago, Illinois 60681. Trans Union is a nationwide CRA as defined by 15 U.S.C. § 1681a(f). Trans

Union regularly engages in the business of assembling, evaluating, and disbursing information

concerning consumers for the purposes of furnishing “consumer reports” as defined by 15 U.S.C. §

1681a(f) to third parties. Trans Union disburses such consumer reports to third parties of contract for

monetary compensation.

       6.       Upon information and belief, Defendant Nationstar Mortgage LLC, successor by

merger to Rushmore Loan Management Services, LLC or Mr. Cooper, which may also hereinafter

be referred to as “Nationstar,” “Rushmore,” “Rushmore/Nationstar,” “Defendant,” “Defendants,”

“Furnisher Defendant,” or “Furnisher Defendants,” is a Delaware limited liability company that does

substantial business in this judicial district and may be served by delivering a summons to its Legal

Department at its headquarters, 8950 Cypress Waters Blvd., Coppell, Texas 75019. Nationstar is a


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“person,” as defined by the FCRA, 15 U.S.C. § 1681a(b), and a furnisher of consumer credit

information to consumer reporting agencies.

       7.      As used herein, “consumer reporting agency,” or “CRA,” means any person which,

for monetary fees, dues, or on a cooperative nonprofit basis, regularly engages in whole or in part in

the practice of assembling or evaluating consumer credit information or other information on

consumers for the purpose of furnishing consumer reports (commonly referred to as “credit reports”)

to third parties, and which uses any means or facility of interstate commerce for the purpose of

preparing or furnishing consumer reports and is an entity in the business of collecting, maintaining

and disseminating information regarding the credit-worthiness of individuals. CRAs specifically

include, but are not limited to, Equifax, Experian, and TransUnion.

                              III. JURISDICTION AND VENUE


       8.      Plaintiff respectfully asserts that this Honorable Court has jurisdiction in this case

arises under federal law. 28 U.S.C. § 1331, 1334, and 1367 and 15 U.S.C. § 1681(p). Plaintiff also

asserts actions under states' laws which may be brought within the supplemental jurisdiction of this

Court and Plaintiff respectfully requests that this Honorable Court exercise supplemental

jurisdiction over said claims. 28 U.S.C. § 1367.

       9.      Venue is proper in this District, because CRA Defendants and Nationstar transact

business in this District. Nationstar’s headquarters is located in this judicial district, a substantial

part of the conduct complained of occurred in this district, and various actions made basis of

Plaintiff’s claims against Defendants occurred in the Northern District of Texas as further described.

28 U.S.C. § 1391.
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        10. Venue is further proper in this District, because CRA Defendants entered into agreements

with Nationstar in this judicial district to receive credit reporting data concerning Plaintiff. Any and

all requests to investigate Plaintiff’s dispute(s) sent from the CRA Defendants as part of their

reinvestigation was submitted to Nationstar’s headquarters and investigated by the furnisher

Nationstar using Rushmore/Nationstar’s resources located at or closely connected to this judicial

district. Nationstar managed Plaintiff’s mortgage from this judicial district including communicating

amounts owed and conducting numerous communications via phone and letter.


                                IV. FACTUAL ALLEGATIONS


        11.     Upon information and belief, in or around December 2013 Plaintiff secured a

mortgage for her property located at 719 S. 12th Street, Nashville, TN 37206.

        12.     Sometime thereafter, Rushmore Loan Management Services acquired Plaintiff’s

mortgage loan and assigned loan number 12400017xxxx, hereinafter (“Rushmore mortgage

account”).

        13.     On January 1, 2018, Plaintiff filed for a Chapter 13 bankruptcy. A redacted copy of

Plaintiff’s chapter 13 bankruptcy docket report is attached hereto as Exhibit “A”.

        14.     On February 21, 2018, Plaintiff Chapter 13 payment plan was confirmed. See Exhibit

“A”.

        15.     In 2023, Rushmore was sold, including all rights, liabilities, mortgage loan servicing

responsibilities, and furnishing responsibilities, to Nationstar.

        16.     On April 27, 2023, Plaintiff was discharged from her chapter 13 bankruptcy, and

excepted from discharge Plaintiff’s Rushmore Mortgage. A redacted copy of Plaintiff’s Chapter 13
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Bankruptcy Discharge Order is attached hereto as Exhibit “B”.

        17.    Read in concert, Sections 1322(a)(2), 1322(b)(5), and 1328(a)(1) of the Bankruptcy

Code, bar discharging home mortgage debts in a Chapter 13 Bankruptcy.

        18.    On July 7, 2023, Henry E. Hildebrand, III, Trustee for Plaintiff’s Chapter 13

Bankruptcy filed a Chapter 13 Standing Trustee’s Final Report and Account. A redacted copy of

Plaintiff’s Chapter 13 Bankruptcy Trustee’s Final Report and Account is attached hereto as Exhibit

“C”.

        19.    On or around August 10, 2023, Plaintiff’s Chapter 13 Bankruptcy was terminated.

See Exhibit “A”.

        20.    Throughout Plaintiff’s Chapter 13 Bankruptcy, under direct or indirect order from

the bankruptcy Trustee, timely monthly mortgage payments were made to the Rushmore mortgage

account.

        21.    After discharge, Plaintiff continued to make timely mortgage payments to her

Rushmore mortgage account until the loan was paid off and satisfied in December 2023.

        22.    Sometime in September 2023, Plaintiff obtained her three-bureau credit report and

noticed that the Experian credit report(s) was not accurate. A redacted copy of Plaintiff’s three-

bureau credit report is attached hereto as Exhibit “D”.

        23.    Within the Experian credit report Plaintiff noticed that it reported the Rushmore

mortgage account without the correct update that indicated that this secured debt was no longer part

of the bankruptcy, as potentially discharged through bankruptcy, as derogatory, as being in a wage

earner plan and with references to the Chapter 13 Bankruptcy. The reporting is incorrect because



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    the payments should not be reporting as late because of Plaintiff’s chapter 13 bankruptcy filing.1 /

    Plaintiff complied with the terms of the chapter 13 bankruptcy plan, was successfully discharged—

    excepted the secured Rushmore mortgage debt from being discharged, therefore, any remarks and/or

    references to Plaintiff’s chapter 13 bankruptcy should have been removed from the Rushmore

    Mortgage tradelines after the Bankruptcy was discharged. 2

           24.     Metro 2 guidelines require furnishers and CRAs to update the reporting of an account

    when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

    Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

    history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

    update the reporting of an account when the borrower associated to the account is discharged from

    chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

    which are well regarded as the industry standards, it prevents the reporting of any late payment

    history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

    the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

    followed by both furnishers and CRAs.

           25.     In or around November 2023, Plaintiff sent a direct dispute to Experian and requested

    that the CRA Defendants investigate the reporting of the Rushmore mortgage account. Plaintiff



1
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to have suppression codes associated with bankruptcy reporting
accounts after the petition is filed, so that the ongoing payments history for the consumer’s will not
be reported.
2
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to remove any suppression codes associated with bankruptcy
reporting for an account once the chapter 13 bankruptcy is discharged so that ongoing payments
made by the consumer can be reported.
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requested that under the FCRA, the CRA Defendant conduct a reasonable investigation and/or

remedy the inaccuracies on Plaintiff’s credit reports concerning the Rushmore mortgage account.

       26.     Within the dispute letter, Plaintiff described in great detail the issues and the

misreporting following her bankruptcy and enclosed copies of either her bankruptcy docket report,

trustee final report, and/or discharge order. A redacted copy of Plaintiff’s unsigned dispute letter

sent to Experian, is attached hereto as Exhibit “E”.

       27.     Experian responded to Plaintiff on December 11, 2023 and stated they deleted the

Rushmore tradeline. A redacted copy of Experian’s Response to Plaintiff is attached hereto as

Exhibit “F”.

       28.     Experian’s responses, or lack thereof, were not the result of a reasonable

investigation into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Rushmore

tradeline and gave no explanation as to why it failed to sufficiently update the Rushmore tradeline

when Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter 13

bankruptcy plan, was successfully discharged, and continued to make payments on the mortgage

accounts because it was still open following the bankruptcy discharge.

       29.     Experian’s responses were not the result of reasonable investigations into Plaintiff’s

dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims, or

evidence and failed to remedy the inaccuracies within the Rushmore Mortgage tradelines.

       30.      Plaintiff sent very clear disputes, and yet Experian made no changes to the disputed

information, bankruptcy status, and/or account status.

       31.     Experian chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and inappropriately deleted Plaintiff’s Rushmore account.

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       32.     Upon the Plaintiff’s request to Experian for verification and addition regarding the

Rushmore mortgage account, and in accordance with Experian’s standard procedures, Experian did

not evaluate or consider any of Plaintiff’s information, claims or evidence. Importantly, Experian

failed to maintain procedures which would ensure that, if any investigation took place, it would

provide Plaintiff with a response communicating the results. Further, Experian did not make any

attempt to substantially or reasonably verify the Rushmore Mortgage account.

       33.     In the alternative, and in accordance with Experian’s standard procedures, Experian

failed to contact Nationstar, therefore, failed to perform any investigation at all.

       34.     In the alternative to the allegation that Experian failed to contact Nationstar, it is

alleged that Experian did forward some notice of the dispute to Nationstar, and Nationstar failed to

conduct a lawful investigation.

       35.     Sometime in January 2024, Plaintiff obtained her three-bureau credit report and

noticed that the Equifax and Trans Union credit report(s) were not accurate. A redacted copy of

Plaintiff’s three-bureau credit report is attached hereto as Exhibit “G”.

       36.     Within the Equifax and Trans Union credit reports Plaintiff noticed that it reported

the Rushmore mortgage account with the suppression codes first presented at the initial filing of the

bankruptcy and failed to provide the correct update that indicated that this secured debt was no

longer part of the bankruptcy. This led to them to still report this closed loan as open. The reporting

is incorrect because Plaintiff complied with the terms of the chapter 13 bankruptcy plan, was

successfully discharged—excepted the secured Rushmore mortgage debt from being discharged,

therefore, any remarks and/or references to Plaintiff’s chapter 13 bankruptcy should have been



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    removed from the Rushmore Mortgage tradelines after the Bankruptcy was discharged. 3

           37.     Metro 2 guidelines require furnishers and CRAs to update the reporting of an account

    when the borrower associated to the account filed chapter 13 bankruptcy by first updating the

    Consumer Information Indicator (“CII”) to “D”, and then continuing to furnish the monthly payment

    history information with a value of “D”. Metro 2 guidelines further require furnishers and CRAs to

    update the reporting of an account when the borrower associated to the account is discharged from

    chapter 13 bankruptcy by updating the CII to “Q”. In following these simple Metro 2 guidelines,

    which are well regarded as the industry standards, it prevents the reporting of any late payment

    history during the pendency of a consumer’s chapter 13 Bankruptcy, and allows payments made by

    the consumer after the chapter 13 bankruptcy is discharged to be reported. Metro 2 guidelines are

    followed by both furnishers and CRAs.

           38.     In or around January 2024, Plaintiff sent direct disputes to Equifax and Trans Union,

    and requested that the CRA Defendants investigate the reporting of the Rushmore mortgage

    account. Plaintiff requested that under the FCRA, each CRA Defendant conduct a reasonable

    investigation and/or remedy the inaccuracies on Plaintiff’s credit reports concerning the Rushmore

    mortgage account.

           39.     Within these dispute letters, Plaintiff described in great detail the issues and the

    misreporting following her bankruptcy and enclosed copies of either her bankruptcy docket report,

    trustee final report, and/or discharge order. Redacted copies of Plaintiff’s unsigned dispute letters



3
  The Consumer Data Industry Association’s Metro 2 reporting standards specifically instruct
consumer reporting agencies to remove any suppression codes associated with bankruptcy
reporting for an account once the chapter 13 bankruptcy is discharged so that ongoing payments
made by the consumer can be reported.
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sent to Equifax and Trans Union, are attached hereto as Exhibits “H” and “I”, respectively.

       40.     Equifax responded to Plaintiff on March 1, 2024 and stated they deleted the

Rushmore tradeline. A redacted copy of Equifax’s Response to Plaintiff is attached hereto as Exhibit

“J”.

       41.     Equifax’s responses, or lack thereof, were not the result of a reasonable investigation

into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Rushmore tradeline and

gave no explanation as to why it failed to sufficiently update the Rushmore Mortgage tradeline when

Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter 13 bankruptcy

plan, was successfully discharged, and continued to make payments on the mortgage account

because it was still open following the bankruptcy discharge.

       42.     Equifax’s response(s) were not the result of reasonable investigations into Plaintiff’s

dispute(s) for they did not adequately evaluate or consider Plaintiff’s information, claims, or

evidence and failed to remedy the inaccuracies within the Rushmore Mortgage tradelines.

       43.     Plaintiff sent a very clear dispute, and yet Equifax made no changes to the disputed

information, bankruptcy status, and/or account status.

       44.     Equifax chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and inappropriately deleted Plaintiff’s Rushmore account.

       45.     Upon the Plaintiff’s request to Equifax for verification and addition regarding the

Rushmore mortgage account, and in accordance with Equifax’s standard procedures, Equifax did

not evaluate or consider any of Plaintiff’s information, claims or evidence. Importantly, Equifax

failed to maintain procedures which would ensure that, if any investigation took place, it would

provide Plaintiff’s with a response communicating the results. Further, Equifax did not make any

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attempt to substantially or reasonably verify the Rushmore Mortgage account.

       46.     In the alternative, and in accordance with Equifax’s standard procedures, Equifax

failed to contact Nationstar, therefore, failed to perform any investigation at all.

       47.     In the alternative to the allegation that Equifax failed to contact Nationstar, it is

alleged that Equifax did forward some notice of the dispute to Nationstar, and Nationstar failed to

conduct a lawful investigation.

       48.     Trans Union responded to Plaintiff on March 1, 2024 and stated they deleted the

Rushmore tradeline. A redacted copy of Trans Union’s Response to Plaintiff is attached hereto as

Exhibit “K”.

       49.     Trans Union’s responses, or lack thereof, were not the result of a reasonable

investigation into Plaintiff’s dispute(s) and failed to remedy the inaccuracies within the Rushmore

tradeline and gave no explanation as to why it failed to sufficiently update the Rushmore tradeline

when Plaintiff filed chapter 13 bankruptcy, complied with the requirements of the chapter 13

bankruptcy plan, was successfully discharged, and continued to make payments on the mortgage

accounts because it was still open following the bankruptcy discharge.

       50.      Plaintiff sent a very clear dispute(s), and yet Trans Union made no changes to the

disputed information, bankruptcy status, and/or account status.

       51.     Trans Union chose to “verify” false information from an unreliable source, failed to

correct the inaccurate information, and inappropriately deleted Plaintiff’s Rushmore account.

       52.     Upon the Plaintiff’s request to Trans Union for verification and addition regarding

the Rushmore mortgage account, and in accordance with Trans Union’s standard procedures, Trans

Union did not evaluate or consider any of Plaintiff’s information, claims or evidence. Importantly,

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Trans Union failed to maintain procedures which would ensure that, if any investigation took place,

it would provide Plaintiff with a response communicating the results. Further, Trans Union did not

make any attempt to substantially or reasonably verify the Rushmore Mortgage account.

       53.     In the alternative, and in accordance with Trans Union’s standard procedures, Trans

Union failed to contact Nationstar, therefore, failed to perform any investigation at all.

       54.     In the alternative to the allegation that Trans Union failed to contact Nationstar, it is

alleged that Trans Union did forward some notice of the dispute to Nationstar, and Nationstar failed

to conduct a lawful investigation.

                                 V. GROUNDS FOR RELIEF

                             EQUIFAX’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681e(b))

       55.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

       56.     Equifax violated 15 U.S.C. § 1681e(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

       57.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

       58.     Equifax knew or should have known of Plaintiff’s bankruptcy status, history, and/or

payment history were reporting inaccurately, and yet, Equifax continued to prepare a patently false

consumer report concerning Plaintiff.

       59.     Despite actual and implied knowledge that Plaintiff’s credit report was and/or is not
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accurate, Equifax readily provided false reports to one or more third parties, thereby misrepresenting

Plaintiff, and ultimately Plaintiff’s creditworthiness.

       60.     After Equifax knew or should have known Plaintiff’s bankruptcy status, history,

and/or payment history were inaccurate for Plaintiff’s Rushmore mortgage tradeline, it failed to

make the corrections as would be required to attain “maximum possible accuracy of the information

concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b).

       61.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to: loss in Plaintiff’s ability to finance goods; loss of credit, loss of the

ability to purchase and benefit from credit; emotional anguish, frustration, and annoyance from

being deterred from applying for credit; mental anguish, humiliation, anger, frustration, annoyance,

and embarrassment as a result of the publication of false information; lost credit capacity and

decreased credit scores; damage to reputation; mental anguish, emotional distress, frustration,

humiliation, and annoyance as a result of being burdened with a false credit reporting history; lost

opportunities to obtain credit in the form of an unspecified number of credit offers that Plaintiff did

not receive because of the false and derogatory information contained in Plaintiff’s credit report;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff has on current loans;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff received during this

ordeal; Plaintiff’s lowered credit score may have impacted the credit limits Plaintiff has on existing

accounts; Plaintiff’s spent considerable time, effort, and expense attempting to force Defendant to

comply with Defendant’s statutory obligations, including but not limited to reviewing information

online, telephone calls, emails, writing letters, sending letters, and attempting to decipher letters,

reports, and other instruments provided by Defendant; loss of self-esteem because of Defendant’s

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continued persistence in painting Plaintiff in a false light both personally and financially; anxiety

when considering seeking additional credit because Plaintiff believes Plaintiff will be forced to be

subjected to the humiliation of having to explain the false and defamatory information; and the costs

and time Plaintiff has spent trying to repair Plaintiff’s credit in light of the damage done to it

continuously by Defendant.

        62.     Equifax’s conduct, action, and inaction, were willful, rendering it liable for punitive

damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In the

alternative, such conduct, action, and inaction were negligent, entitling the Plaintiff to recover under

15 U.S.C. § 1681o.

        63.     The Plaintiff is entitled to recover costs and attorney's fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.


                              EQUIFAX’S VIOLATION OF THE FCRA
                                       (15 U.S.C. §1681i)

        64.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        65.     Equifax violated 15 U.S.C. § 1681i on multiple occasions by failing to update or

correct inaccurate information in the Plaintiff’s credit file after receiving actual notice of such

inaccuracies, failing to conduct a lawful reinvestigation, failing to forward all relevant information

to furnisher(s), failing to maintain reasonable procedures with which to filter and verify disputed

information in the Plaintiff’s credit file, and relying upon verification from a source it has reason to

know is unreliable.

        66.     As a result of Equifax’s conduct, action, and inaction, the Plaintiff suffered damages,

including, but not limited to: loss in Plaintiff’s ability to finance goods; loss of credit, loss of the

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ability to purchase and benefit from credit; emotional anguish, frustration, and annoyance from being

deterred from applying for credit; mental anguish, humiliation, anger, frustration, annoyance, and

embarrassment as a result of the publication of false information; lost credit capacity and decreased

credit scores; damage to reputation; mental anguish, emotional distress, frustration, humiliation, and

annoyance as a result of being burdened with a false credit reporting history; lost opportunities to

obtain credit in the form of an unspecified number of credit offers that Plaintiff did not receive

because of the false and derogatory information contained in Plaintiff’s credit report; Plaintiff’s

lowered credit score may have impacted the interest rates Plaintiff has on current loans; Plaintiff’s

lowered credit score may have impacted the interest rates Plaintiff received during this ordeal;

Plaintiff’s lowered credit score may have impacted the credit limits Plaintiff has on existing accounts;

Plaintiff’s spent considerable time, effort, and expense attempting to force Defendant to comply with

Defendant’s statutory obligations, including but not limited to reviewing information online,

telephone calls, emails, writing letters, sending letters, and attempting to decipher letters, reports,

and other instruments provided by Defendant; loss of self-esteem because of Defendant’s continued

persistence in painting Plaintiff in a false light both personally and financially; anxiety when

considering seeking additional credit because Plaintiff believes Plaintiff will be forced to be

subjected to the humiliation of having to explain the false and defamatory information; and the costs

and time Plaintiff has spent trying to repair Plaintiff’s credit in light of the damage done to it

continuously by Defendant.

        67.     Equifax’s conduct, action, and inaction, were willful, rendering it liable for actual or

statutory damages, and punitive damages in an amount to be determined by the Court pursuant to 15

U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling the

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Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

        68.     The Plaintiff is entitled to recover costs and attorney's fees from Equifax in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                             EXPERIAN’S VIOLATION OF THE FCRA
                                     (15 U.S.C. §1681e(b))

        69.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        70.     Experian violated 15 U.S.C. § 1681e(b) by failing to establish or follow reasonable

procedures to assure maximum possible accuracy in the preparation of the credit reports and credit

files it published and maintained concerning the Plaintiff.

        71.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

        72.     Experian knew or should have known of Plaintiff’s bankruptcy status, history, and/or

payment history were reporting inaccurately, and yet, Experian continued to prepare a patently false

consumer report concerning Plaintiff.

        73.     Despite actual and implied knowledge that Plaintiff’s credit report was and/or is not

accurate, Experian readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

        74.     After Experian knew or should have known Plaintiff’s bankruptcy status, history,

and/or payment history were inaccurate for Plaintiff’s Rushmore mortgage tradeline, it failed to make

the corrections as would be required to attain “maximum possible accuracy of the information

concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b).
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        75.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to: loss in Plaintiff’s ability to finance goods; loss of credit, loss

of the ability to purchase and benefit from credit; emotional anguish, frustration, and annoyance from

being deterred from applying for credit; mental anguish, humiliation, anger, frustration, annoyance,

and embarrassment as a result of the publication of false information; lost credit capacity and

decreased credit scores; damage to reputation; mental anguish, emotional distress, frustration,

humiliation, and annoyance as a result of being burdened with a false credit reporting history; lost

opportunities to obtain credit in the form of an unspecified number of credit offers that Plaintiff did

not receive because of the false and derogatory information contained in Plaintiff’s credit report;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff has on current loans;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff received during this

ordeal; Plaintiff’s lowered credit score may have impacted the credit limits Plaintiff has on existing

accounts; Plaintiff’s spent considerable time, effort, and expense attempting to force Defendant to

comply with Defendant’s statutory obligations, including but not limited to reviewing information

online, telephone calls, emails, writing letters, sending letters, and attempting to decipher letters,

reports, and other instruments provided by Defendant; loss of self-esteem because of Defendant’s

continued persistence in painting Plaintiff in a false light both personally and financially; anxiety

when considering seeking additional credit because Plaintiff believes Plaintiff will be forced to be

subjected to the humiliation of having to explain the false and defamatory information; and the costs

and time Plaintiff has spent trying to repair Plaintiff’s credit in light of the damage done to it

continuously by Defendant.

        76.     Experian’s conduct, action, and inaction, were willful, rendering it liable for punitive

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damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In the alternative,

such conduct, action, and inaction were negligent, entitling the Plaintiff to recover under 15 U.S.C.

§ 1681o.

        77.     The Plaintiff is entitled to recover costs and attorney's fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.


                             EXPERIAN’S VIOLATION OF THE FCRA
                                      (15 U.S.C. §1681i)

        78.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        79.     Experian violated 15 U.S.C. § 1681i on multiple occasions by failing to update or

correct inaccurate information in the Plaintiff’s credit file after receiving actual notice of such

inaccuracies, failing to conduct a lawful reinvestigation, failing to forward all relevant information

to furnisher(s), failing to maintain reasonable procedures with which to filter and verify disputed

information in the Plaintiff’s credit file, and relying upon verification from a source it has reason to

know is unreliable.

        80.     As a result of Experian’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to: loss in Plaintiff’s ability to finance goods; loss of credit, loss

of the ability to purchase and benefit from credit; emotional anguish, frustration, and annoyance from

being deterred from applying for credit; mental anguish, humiliation, anger, frustration, annoyance,

and embarrassment as a result of the publication of false information; lost credit capacity and

decreased credit scores; damage to reputation; mental anguish, emotional distress, frustration,

humiliation, and annoyance as a result of being burdened with a false credit reporting history; lost

opportunities to obtain credit in the form of an unspecified number of credit offers that Plaintiff did

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not receive because of the false and derogatory information contained in Plaintiff’s credit report;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff has on current loans;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff received during this

ordeal; Plaintiff’s lowered credit score may have impacted the credit limits Plaintiff has on existing

accounts; Plaintiff’s spent considerable time, effort, and expense attempting to force Defendant to

comply with Defendant’s statutory obligations, including but not limited to reviewing information

online, telephone calls, emails, writing letters, sending letters, and attempting to decipher letters,

reports, and other instruments provided by Defendant; loss of self-esteem because of Defendant’s

continued persistence in painting Plaintiff in a false light both personally and financially; anxiety

when considering seeking additional credit because Plaintiff believes Plaintiff will be forced to be

subjected to the humiliation of having to explain the false and defamatory information; and the costs

and time Plaintiff has spent trying to repair Plaintiff’s credit in light of the damage done to it

continuously by Defendant.

        81.     Experian’s conduct, action, and inaction, were willful, rendering it liable for actual

or statutory damages, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent entitling the

Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

        82.     The Plaintiff is entitled to recover costs and attorney's fees from Experian in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.


                          TRANS UNION’S VIOLATION OF THE FCRA
                                     (15 .S.C. §1681e(b))

        83.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

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        84.     Trans Union violated 15 U.S.C. § 1681e(b) by failing to establish or follow

reasonable procedures to assure maximum possible accuracy in the preparation of the credit reports

and credit files it published and maintained concerning the Plaintiff.

        85.     The FCRA mandates that “[w]henever a consumer reporting agency prepares a

consumer report it shall follow reasonable procedures to assure maximum possible accuracy of the

information concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b)

(emphasis added).

        86.     Trans Union knew or should have known of Plaintiff’s bankruptcy status, history,

and/or payment history were reporting inaccurately, and yet, Trans Union continued to prepare a

patently false consumer report concerning Plaintiff.

        87.     Despite actual and implied knowledge that Plaintiff’s credit report was and/or is not

accurate, Trans Union readily provided false reports to one or more third parties, thereby

misrepresenting Plaintiff, and ultimately Plaintiff’s creditworthiness.

        88.     After Trans Union knew or should have known Plaintiff’s bankruptcy status, history,

and/or payment history were inaccurate for Plaintiff’s Rushmore mortgage tradeline, it failed to make

the corrections as would be required to attain “maximum possible accuracy of the information

concerning the individual about whom the report relates.” 15 U.S.C. § 168le(b).

        89.     As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to: loss in Plaintiff’s ability to finance goods; loss of credit, loss

of the ability to purchase and benefit from credit; emotional anguish, frustration, and annoyance from

being deterred from applying for credit; mental anguish, humiliation, anger, frustration, annoyance,

and embarrassment as a result of the publication of false information; lost credit capacity and

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decreased credit scores; damage to reputation; mental anguish, emotional distress, frustration,

humiliation, and annoyance as a result of being burdened with a false credit reporting history; lost

opportunities to obtain credit in the form of an unspecified number of credit offers that Plaintiff did

not receive because of the false and derogatory information contained in Plaintiff’s credit report;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff has on current loans;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff received during this

ordeal; Plaintiff’s lowered credit score may have impacted the credit limits Plaintiff has on existing

accounts; Plaintiff’s spent considerable time, effort, and expense attempting to force Defendant to

comply with Defendant’s statutory obligations, including but not limited to reviewing information

online, telephone calls, emails, writing letters, sending letters, and attempting to decipher letters,

reports, and other instruments provided by Defendant; loss of self-esteem because of Defendant’s

continued persistence in painting Plaintiff in a false light both personally and financially; anxiety

when considering seeking additional credit because Plaintiff believes Plaintiff will be forced to be

subjected to the humiliation of having to explain the false and defamatory information; and the costs

and time Plaintiff has spent trying to repair Plaintiff’s credit in light of the damage done to it

continuously by Defendant.

        90.     Trans Union's conduct, action, and inaction, were willful, rendering it liable for

punitive damages in an amount to be determined by the Court pursuant to 15 U.S.C. § 168ln. In the

alternative, such conduct, action, and inaction were negligent, entitling the Plaintiff to recover under

15 U.S.C. § 1681o.

        91.     The Plaintiff is entitled to recover costs and attorney's fees from Trans Union in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681o.

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                           TRANS UNION’S VIOLATION OF THE FCRA
                                      (15 U.S.C. §1681i)

        92.     The Plaintiff realleges and incorporates all paragraphs above as if fully set out herein.

        93.     Trans Union violated 15 U.S.C. § 1681i on multiple occasions by failing to update

or correct inaccurate information in the Plaintiff’s credit file after receiving actual notice of such

inaccuracies, failing to conduct a lawful reinvestigation, failing to forward all relevant information

to furnisher(s), failing to maintain reasonable procedures with which to filter and verify disputed

information in the Plaintiff’s credit file, and relying upon verification from a source it has reason to

know is unreliable.

        94.     As a result of Trans Union’s conduct, action, and inaction, the Plaintiff suffered

damages, including, but not limited to: loss in Plaintiff’s ability to finance goods; loss of credit, loss

of the ability to purchase and benefit from credit; emotional anguish, frustration, and annoyance from

being deterred from applying for credit; mental anguish, humiliation, anger, frustration, annoyance,

and embarrassment as a result of the publication of false information; lost credit capacity and

decreased credit scores; damage to reputation; mental anguish, emotional distress, frustration,

humiliation, and annoyance as a result of being burdened with a false credit reporting history; lost

opportunities to obtain credit in the form of an unspecified number of credit offers that Plaintiff did

not receive because of the false and derogatory information contained in Plaintiff’s credit report;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff has on current loans;

Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff received during this

ordeal; Plaintiff’s lowered credit score may have impacted the credit limits Plaintiff has on existing

accounts; Plaintiff’s spent considerable time, effort, and expense attempting to force Defendant to

comply with Defendant’s statutory obligations, including but not limited to reviewing information
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online, telephone calls, emails, writing letters, sending letters, and attempting to decipher letters,

reports, and other instruments provided by Defendant; loss of self-esteem because of Defendant’s

continued persistence in painting Plaintiff in a false light both personally and financially; anxiety

when considering seeking additional credit because Plaintiff believes Plaintiff will be forced to be

subjected to the humiliation of having to explain the false and defamatory information; and the costs

and time Plaintiff has spent trying to repair Plaintiff’s credit in light of the damage done to it

continuously by Defendant.

         95.     Trans Union’s conduct, action, and inaction, were willful, rendering it liable for

actual or statutory damages, and punitive damages in an amount to be determined by the Court

pursuant to 15 U.S.C. § 1681n. In the alternative, such conduct, action, and inaction were negligent

entitling the Plaintiff to recover actual damages under 15 U.S.C. § 1681o.

         96.     The Plaintiff is entitled to recover costs and attorney's fees from Trans Union in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or 1681o.

                            NATIONSTAR’S VIOLATION OF THE FCRA
                                    (15 U.S.C. §1681s-2(b))

         97.     Furnisher Defendant violated 15 U.S.C. § 1681s-2(b) by failing to conduct

reasonable investigations upon receiving notice of Plaintiff’s dispute(s) from one or more consumer

reporting agencies, and/or failing to appropriately report the results of their investigations, and/or

failing to appropriately modify the information.

         98.     Furnisher Defendant further violated 15 U.S.C. § 1681s-2(b) by continuing to report

the Rushmoremortgage within Plaintiff’s credit files with the CRA Defendants without also

including a notation that this debt was disputed, failing to fully and properly investigate the Plaintiff’s

dispute of the Rushmore mortgage, failing to accurately respond to the CRA Defendants, failing to
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correctly report results of an accurate investigation to every other consumer reporting agency, and

failing to permanently and lawfully correct its own internal records to prevent the re-reporting of

inaccurate information to the Rushmore mortgage within the consumer reporting agencies reports.

        99.     As a result of Furnisher Defendant’s conduct, action, and inaction, the Plaintiff

suffered damages, including, but not limited to: loss in Plaintiff’s ability to finance goods; loss of

credit, loss of the ability to purchase and benefit from credit; emotional anguish, frustration, and

annoyance from being deterred from applying for credit; mental anguish, humiliation, anger,

frustration, annoyance, and embarrassment as a result of the publication of false information; lost

credit capacity and decreased credit scores; damage to reputation; mental anguish, emotional distress,

frustration, humiliation, and annoyance as a result of being burdened with a false credit reporting

history; lost opportunities to obtain credit in the form of an unspecified number of credit offers that

Plaintiff did not receive because of the false and derogatory information contained in Plaintiff’s credit

report; Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff has on current

loans; Plaintiff’s lowered credit score may have impacted the interest rates Plaintiff received during

this ordeal; Plaintiff’s lowered credit score may have impacted the credit limits Plaintiff has on

existing accounts; Plaintiff’s spent considerable time, effort, and expense attempting to force

Defendant to comply with Defendant’s statutory obligations, including but not limited to reviewing

information online, telephone calls, emails, writing letters, sending letters, and attempting to decipher

letters, reports, and other instruments provided by Defendant; loss of self-esteem because of

Defendant’s continued persistence in painting Plaintiff in a false light both personally and

financially; anxiety when considering seeking additional credit because Plaintiff believes Plaintiff

will be forced to be subjected to the humiliation of having to explain the false and defamatory

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information; and the costs and time Plaintiff has spent trying to repair Plaintiff’s credit in light of the

damage done to it continuously by Defendant.

          100.   Furnisher Defendant’s conduct, action, and inaction, were willful, rendering it liable

for actual or statutory, and punitive damages in an amount to be determined by the Court pursuant to

15 U.S.C. § 1681n. In the alternative, it was negligent entitling the Plaintiff to recover actual damages

under 15 U.S.C. § 1681o.


                  VI. VICARIOUS LIABILITY/RESPONDEAT SUPERIOR

          101.   Plaintiff will be able to show, after reasonable discovery, that all actions at issue

 were taken by employees, agents, servants, or representatives, of any type, for Defendants, the

 principals, within the line and scope of such individuals' (or entities’) express or implied authority,

 through employment, agency, or representation, which imputes liability to Defendants for all such

 actions under the doctrine of respondeat superior and/or vicarious liability.



                                          VII. DAMAGES

          102.   Plaintiff respectfully requests that this Honorable Court instruct the jury, as the trier

 of facts, that in addition to actual or compensatory damages, punitive or exemplary damages may

 be awarded against the Defendants under the provisions of the FCRA and/or states' laws, including

 Texas.

          103.   Plaintiff respectfully requests that this Honorable Court award Plaintiff her litigation

 expenses and other costs of litigation and reasonable attorney’s fees incurred in this litigation, in

 accordance with the provisions of the FCRA and/or other laws.


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         104.   The above and foregoing actions, inactions, and fault of Defendants, as to each and

every claim, have proximately caused a wide variety of damages to Plaintiff.

         105.   Defendants performed perfunctory and essentially useless reinvestigations resulting

in the verification of false reportings about the Plaintiff and have been a substantial factor in causing

credit denials and other damages.

         106.   Plaintiff suffered a variety of damages, including economic and non-economic

damages as prayed for herein.

         107.   Defendants have negligently and/or willfully violated various provisions of the

FCRA and are thereby liable unto Plaintiff.

         108.   Defendants are liable unto Plaintiff for all actual, statutory, exemplary and punitive

damages awarded in this case, as well as other demands and claims asserted herein including, but

not limited to, out-of-pocket expenses, credit denials, costs and time of repairing their credit, pain

and suffering, embarrassment, inconvenience, lost economic opportunity, loss of incidental time,

frustration, emotional distress, mental anguish, fear of personal and financial safety and security,

attorney’s fees, and court costs, and other assessments proper by law and any and all other applicable

federal and state laws, together with legal interest thereon from date of judicial demand until paid.


WHEREFORE PREMESIS CONSIDERED, Plaintiff, Charlene Ashley, prays that this Honorable

Court:


         A.     Enter Judgment in favor of Plaintiffs and against Defendants Equifax Information

Services LLC, Experian Information Solutions, Inc., Trans Union LLC, and Nationstar Mortgage

LLC, successor by merger to Rushmore Loan Management Services LLC, jointly, severally, and in

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solido, for all reasonable damages sustained by Plaintiff, including, but not limited to, actual damages,

compensatory damages, out-of-pocket expenses, credit denials, costs and time of repairing their credit,

pain and suffering, embarrassment, inconvenience, lost economic opportunity, loss of incidental time,

frustration, emotional distress, mental anguish, and fear of personal and financial safety and security

for Defendants’ violations of the FCRA, applicable state law, and common law;

         B.      Find that the appropriate circumstances exist for an award of punitive damages to

Plaintiff;

         C.      Award Plaintiff pre-judgment and post-judgment interest, as allowed by law;

         D.      Order that the CRA Defendants, Equifax Information Services LLC, Experian

Information Solutions, Inc., and Trans Union LLC, and Furnisher Defendant, Nationstar Mortgage

LLC, successor by merger to Rushmore Loan Management Services LLC, work in conjunction,

cooperatively, and/or individually to reinvestigate and correct the consumer report(s), credit report(s),

data emanations, consumer histories, and credit histories of and concerning Plaintiff and/or any of

Plaintiff’s personal identifiers.

         E.      Grant such other and further relief, in law or equity, to which Plaintiff might show she

is justly entitled.



Date Filed: May 14, 2024


                                                 Respectfully submitted,

                                                 /s/ Matthew P. Forsberg
                                                 Matthew P. Forsberg
                                                 TX State Bar No. 24082581

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                                 COUNSEL FOR PLAINTIFF




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                                      JURY DEMAND

           Plaintiff hereby demands a trial by jury on all issues so triable.

May 14, 2024                                /s/ Matthew P. Forsberg
Date                                        Matthew P. Forsberg




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